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                     UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


            Chambers of                                           Martin Luther King Federal Building
       Leda Dunn Wettre                                                    & U.S. Courthouse
    United States Magistrate Judge                                          50 Walnut Street
                                                                           Newark, NJ 07101
                                                                             (973) 645-3574

                                            December 11, 2024

 To: All counsel of record


                             LETTER ORDER PURSUANT TO RULE 16.1

 RE:    United States et al. v. Apple Inc.
        Civil Action No. 24-4055 (JXN) (LDW)

Dear Counsel:

       An initial scheduling conference shall be conducted at the Martin Luther King Federal Building
and U.S. Courthouse, 50 Walnut Street, Courtroom 3C, Newark, New Jersey on February 27, 2025
at 10:00 a.m. before Magistrate Judge Leda D. Wettre.

        Counsel are advised that the early disclosure requirements of Fed. R. Civ. P. 26 will be
 enforced. Therefore, counsel shall immediately exchange the following information without a
 formal discovery request:

                -         identities of individuals likely to have knowledge of discoverable facts;

                -         documents and things in the possession of counsel or the party;

                -         identities of experts and their opinions;

                -         insurance agreements in force; and

                -         statement(s) of the basis for any damages claimed.

         At least fourteen (14) days prior to the conference scheduled herein, counsel shall personally
 meet and confer pursuant to Fed. R. Civ. P. 26(f) and shall submit a discovery plan to the undersigned
 not later than seven (7) business days prior to the conference with the Court. The discovery plan
 shall be submitted jointly and shall be in the form attached.

         At the conference, the Court will address scheduling of proposed motions. No motions are
 to be filed without written permission from the Court, except for motions in lieu of Answer under
 Federal Rule of Civil Procedure 12 and motions seeking remand that must be filed within thirty days
 of removal under 28 U.S.C. § 1447(c). If any motions already have been filed, the movant shall
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advise the Court immediately, in writing, regarding the nature of the motion and its present status.
Counsel may submit unopposed applications for pro hac vice admission to Chambers. Counsel should
obtain the consent of adverse parties prior to filing the application and shall advise, in both the cover
letter and the proposed Order, of such consent. In addition, counsel shall follow the requirements of
L. Civ. R. 101.1(c) with regard to the contents of the proposed form of Order and the supporting
certifications of local counsel and each proposed pro hac vice attorney.

        At the conference, all parties who are not appearing pro se must be represented by counsel
 who shall have full authority to bind their clients in all pretrial matters. Counsel shall also be
 prepared to discuss the merits of the case and shall have settlement authority. Clients or persons
 with authority over the matter shall be available by telephone. See L. Civ. R. 16.1(a).

        Counsel for plaintiff(s) shall notify any party who hereafter enters an appearance of the above
 conference and forward to that party a copy of this Order.

         The parties must advise this Court immediately if this action has been settled or terminated
 so that the above conference may be canceled.

         SO ORDERED this 11th day of December, 2024.


                                                 s/ Leda Dunn Wettre
                                                Hon. Leda Dunn Wettre
                                                United States Magistrate Judge


 Orig: Clerk
 cc:   Counsel of Record
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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


                                  :        Civil Action No.
                                  :
                    Plaintiff(s), :        Hon.
                                  :
                    v.            :        JOINT DISCOVERY PLAN
                                  :
                                  :
                    Defendant(s). :


1.   Set forth a factual description of the case. Include the causes of action and affirmative
     defenses asserted.

2.   Have settlement discussions taken place? Yes                 No

     If so, when?

     (a)    What was plaintiff’s last demand?

                    (1)     Monetary demand: $
                    (2)     Non-monetary demand:

     (b)      What was defendant’s last offer?

                    (1)      Monetary offer: $
                    (2)      Non-monetary offer:

3.   The parties [have         -have not           ] exchanged the information required by Fed.
     R. Civ. P. 26(a)(1). If not, state the reason therefor.

4.   Describe any discovery conducted other than the above disclosures.

5.   Generally, dispositive Motions cannot be filed until the completion of discovery.
     Describe any Motions any party may seek to make prior to the completion of discovery.
     Include any jurisdictional Motions and Motions to Amend.

6.   The parties propose the following:

     (a)   Discovery is needed on the following subjects:

     (b)    Should discovery be conducted in phases? If so, explain.

     (c)    Number of Interrogatories by each party to each other party:

     (d)     Number of Depositions to be taken by each party:
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      (e)      Plaintiff’s expert report due on                     .

      (f)      Defendant’s expert report due on                         .

      (g)      Motions to Amend or to Add Parties to be filed by                           .

      (h)      Dispositive motions to be served within _         days of completion of discovery.

      (i)    Factual discovery to be completed by                                .

      (j)    Expert discovery to be completed by                        .

      (k)    Set forth any special discovery mechanism or procedure requested, including
             data preservation orders or protective orders:

      (l)    A pretrial conference may take place on

      (m)   Trial by jury or non-jury Trial?

      (n)    Trial date:                              .

7.    Do you anticipate any discovery problem(s)? Yes                       No
            If so, explain.

8.    Do you anticipate any special discovery needs (i.e., videotape/telephone depositions,
      problems with out-of state witnesses or documents, etc.)? Yes             No
      If so, explain.

9.    State whether this case is appropriate for voluntary arbitration (pursuant to L. Civ. R.
      201.1 or otherwise), mediation (pursuant to L. Civ. R. 301.1 or otherwise), appointment
      of a special master or other special procedure. If not, explain why and state whether any
      such procedure may be appropriate at a later time (i.e., after exchange of pretrial
      disclosures, after completion of depositions, after disposition of dispositive motions,
      etc.).

10.   Is this case appropriate for bifurcation? Yes               No

11.   We [do         do not                 ] consent to the trial being conducted by a Magistrate
      Judge.



                                                      Attorney(s) for Plaintiff(s)


                                                      Attorney(s) for Defendant(s)
